Case 6:19-cv-01975-RBD-EJK Document 17-1 Filed 11/20/19 Page 1 of 14 PageID 117




                    EXHIBIT A
Case 6:19-cv-01975-RBD-EJK Document 17-1 Filed 11/20/19 Page 2 of 14 PageID 118




                               UNITED STATES DISTRICT COURT
                            MIDDLE DISTRICT OF FLORIDA DIVISION

                                  CASE NO. 6:19-cv-01975-0rl-37EJK
    KYLE POND,

           Plaintiff,
    v.

    RED LAMBDA, INC., and
    BAHRAM YUSEFZADEH,

           Defendants.
    - - -- -- - - -- -- - -I
                        FLSA SETTLEMENT AGREEMENT AND RELEASE
          This FLSA Settlement Agreement and Release ("Agreement") is entered jnto by and
    between Kyle Pond ("Pond"), Red Lambda, Inc. (" RLI"), and Bahram Yusefzadeh (Pond,
    RLI and Yusefzadeh are collectively referred to as the "Parties"), on the following terms:
                                               RECITALS
            WHEREAS, former RLI employee Pond has filed a lawsuit styled Kyle Pond v. Red
    Lambda, Inc., et al. , Case No. 6: 19-cv-01975-37EJK which remains pending in the United States
    District Court, Mjddle District of Florida, (the " Action"), and which includes a count against RLJ
    and Yusefzadeh for alleged unpaid wages under the Fair Labor Standards Act, 29 U.S.C. §§ 201 et
    seq. (the "FLSA Claim");
            WHEREAS, the Parties desire to separately, fully and finally resolve the FLSA Claim to
    avoid the additional effort and expense of litigation; and
           WHEREAS, RLI and Yusefzadeh do not admit and explicitly deny the allegations made
    in connection with the FLSA Claim, and further deny any violation whatsoever of the FLSA or
    any other employment law, rule, or regulation .
            NOW THEREFORE, in consideration of the promises and mutual covenants contained
    herein, the sufficiency of which is hereby acknowledged, the Parties hereto agree as follows:
           1.       Recitals . . The above Recitals are true and correct and incorporated herein
    by reference.
                                           .                     '
    .       2.      Settlement Payment. .In consideration of the dismissal of the FLSA claim with
    prejudice and the release set forth below, RLI shall pay t~ Pond th_e sum total of $15,000.00
    (Fifteen Thousand Dollars' and Zero Cents, as follows: (a) a payment. of $10,000.00 (Ten
    Thousand Dollars and Zero Cents) as consideration to resolve Pond ' s alleged FLSA Claim and
    the releases described her~in ; and (b} a payment of $5,000.o'o (Five Thousand Dollars and Zero
    Cents) payable to Hollifiejd Legal' Centre (EIN XX-XXXXXXX), as payment in full for all alleged
    attorneys' fees and costs incurred by Pond in connection with the FLSA Claim. An IRS Form 1099
    will be issued to Pond and to his counsel, Hollifield Legal Centre, in connection with these
    settlement payments and in accordance with applicable law. The two payments above shall be
Case 6:19-cv-01975-RBD-EJK Document 17-1 Filed 11/20/19 Page 3 of 14 PageID 119




   delivered to Hollifield Legal Centre by wire within ten (I 0) days of: (a) the execution of this
   Agreement by all Parties; (b) RLI's receipt of 2019 IRS W-9 Forms from Pond and Hollifield
   Legal Centre; and (c) the Court's approval of this Agreement and dismissal of the FLSA Claim
   with prejudice, as described in paragraph 5 below and Exhibit A to this Agreement.
           3.    Taxes and Indemnification. Pond acknowledges that he is solely responsible for the
   payment of all federal, state and/or local taxes imposed on him by any revenue agency that is or
   may be owed taxes or other withholdings with respect to monies paid by RLI to Pond and/or paid
   on his behalf hereunder. Pond shall indemnify and hold RLI harmless from any claims, demands,
   deficiencies, levies, assessments, executions, judgments or recoveries by any governmental
   authority because of Pond's failure to pay taxes or other withholdings relative to the amounts paid
   by RLI hereunder. Pond further agrees to hold RLT harmless as to costs, expenses or damages
   sustained by Pond as taxes, attorneys' fees, deficiencies, levies, assessments, fines, penalties,
   interest or otherwise, as a result of his failure to pay such taxes or other withholdings. Pond
   represents that he is not relying in any way upon the RU Released Parties in this regard.
           4.    No Admission of Liability. This Agreement does not constitute and shall not be
   construed as an admission by any Party ofliability or wrongdoing or any violation of law and, to the
   contrary, any such interpretation is specifically denied. It is expressly understood and agreed that
   this Agreement shall not be construed as or be deemed to be evidence of an admission or concession
   of any fault or liability or damage whatsoever on the part of any of the Parties. By entering into this
   Agreement and paying the consideration set forth herein, the RU Released Parties do not admit, and
   expressly deny, liability of any kind to Pond with respect to the FLSA Claims, and expressly assert
   that Pond's FLSA Claims are without merit. The Parties acknowledge that the Agreement is being
   entered into solely to avoid the cost and expense of litigation associated with the FLSA Claims.
           5.    Joint Motion to Approve Settlement & Dismiss FLSA Claim With Prejudice.
   Concurrent with the execution of this Agreement, the Parties agree to file a Joint Motion to Approve
   the Settlement Agreement and Dismiss the FLSA Claim With Prejudice against RLJ and
   Yusefzadeh, in the form attached as Exhibit A. Should the Court not approve the proposed
   settlement of the FLSA Claim, this Agreement shall be null and void and no payment set forth
   herein shall be required. However, the Parties shall promptly confer and cooperate in a good
   faith effort to cure any defects observed by the Court, and endeavor to obtain final Court
   approval consistent with the other terms and conditions set forth herein.
            6.    Representation. Pond represents, warrants, stipulates and agrees that, upon receipt
   of the settlement payment described in paragraph 2 above, his FLSA Claim will be fully satisfied
   without compromise and that no dispute remains as to the computation of minimum wages he
   claims he is owed in connection with his FLSA Claim. Pond further represents, warrants,
   stipulates, and agrees that he has not sold, assigned, transferred, conveyed, or otherwise disposed
   of all or any portion of any released claim.
           7.     Release. In consideration of the settlement payment described in paragraph 2
   above and the other promises and covenants contained in this Agreement, Pond, on behalf of
   himself and his spouse, heirs, agents, representatives, assigns, and any other persons or entities
   acting or purporting to act on behalf of Pond (collectively, the "Pond Releasors"), does hereby
   knowingly, voluntarily, fully and forever waive, release, and discharge RLI and each of RLI's
   parents, subsidiaries, and other affiliated entities, and each of RLI's and its affiliated entities'
   respective officers, directors, shareholders, predecessors, successors or assigns, attorneys, agents

                                                     2
Case 6:19-cv-01975-RBD-EJK Document 17-1 Filed 11/20/19 Page 4 of 14 PageID 120




    and employees, and each of their respective heirs, executors, administrators, personal
    representatives, successors and/or assigns (collectively, the "RLI Releasees") and Bahram
    Yusefzadeh ("Yusefzadeh"), of and from any and all known and unknown rights, claims,
    complaints, demands, charges, liabilities, obligations, promises, agreements, damages, actions
    and lawsuits of any kind arising under the Fair Labor Standards Act, 29 U.S.C. §§ 201 et seq.
    ("FLSA") and other federal and/or state laws, rules, or regulations pertaining to the payment of
    wages, including without limitation Florida's Wage Discrimination Law (Fla. Stat. §448.07),
    Florida's Equal Pay Law (Fla. Stat. §725.07), and Florida's Minimum Wage Act (Fla. Stat.
    §448.110), wbich Pond has or may have against RLI, Yusefzadeh, and/or any of the RU
    Released Parties.
            8.      Acknowledgment of Reasonable Time to Review. Pond represents and agrees
    that he has carefully read and fully understands all of the provisions of this Agreement, that he
    has been provided with reasonable time to consider this Agreement, and that he is voluntarily
    entering into this Agreement. The corporate signatory on behalf of RLI likewise represents and
    warrants that he has obtained all necessary corporate approval to enter into this Agreement, and
    that the person signing this Agreement on its behalf has the authority to do so. These warranties
    shall survive the execution of this Agreement indefinitely.
           9.      Attorney Fees and Costs. Except as otherwise set forth herein, each party shall be
    responsible for payment of their own attorneys' fees and costs in the Action.
           I 0.    Severability. If any provision of this Agreement or the application thereof to any
    party or circumstances shall be determined to be invalid or unenforceable to any extent, the
    remainder of this Agreement and the application of such provisions to any other party or
    circumstances shall not be affected thereby and shall be enforced to the greatest extent permitted
    by law and to that extent the Agreement is severable.
            11.     Governing Law and Venue. This Agreement shall be construed and governed in
    accordance with the laws of the State of Florida (without regard to its choice of law provisions)
    and subject to the exclusive jurisdiction of the Florida federal and state courts. Venue shall lie
    exclusively in the federal and state courts of Seminole County, Florida.
            12.     Counterparts. This Agreement may be executed in any number of counterparts,
    each of which shall be deemed to be an original, but all of which together shall constitute one
    and the same instrument. A fully executed copy of this Agreement shall be of the same force
    and effect as an original.
             13.    Successors and Assigns. This Agreement is binding on each of the Parties and
    their respective heirs, successors, and assigns.
            14.     Representations. Except as expressly provided herein, the Parties represent and
    warrant that, in executing this Agreement, they do not rely upon and have not relied upon any
    oral or written representation, promise, warranty, or understanding made by any of the Parties or
    their representatives with regard to the subject matter, basis, or effect of this Agreement.
            15.     Drafting of Agreement.'      The Parties acknowledge that each party has
    participated in tbe drafting of this Agreement and each has had an equal opportunity to
    participate in the drafting of this Agreement. No ambiguity shall be construed against any party
    based upon a claim that the party drafted the ambiguous language.


                                                    3
Case 6:19-cv-01975-RBD-EJK Document 17-1 Filed 11/20/19 Page 5 of 14 PageID 121




           16.    No Change to Agreement. The Parties acknowledge and assume the risk that
   additional or different facts may now exist or may be discovered after this Agreement has been
   entered into. The Parties agree that any such additional, different, or contrary facts shall in no way
   limit, waive, affect, or alter this Agreement.
          17.      Opportunity to Consider and Confer. Pond expressly warrants and represents that,
   before executing this Agreement, Pond fully informed himself of the terms, contents, conditions
   and effects thereof; that in making the settlement represented by this Agreement, Pond had the
   benefit of the advice of counsel of his own choosing; that no promise or representation of any kind
   has been made to Pond regarding the settlement of his FLSA Claim, except as is expressly stated in
   this Agreement; that Pond fully understands and is in complete agreement with all terms of this
   Agreement; and, that Pond is entering into this Agreement of his own volition. Pond further
   expressly warrants and represents that he has relied solely and completely on his own judgment and
   the advice of his counsel in making the settlement represented by this Agreement.
           18.    Consultation. Pond acknowledges that he has been advised to consult an attorney
   prior to signing this Agreement, and that he has consulted with and been advised by counsel in
   this matter and is satisfied that he has received sufficient legal advice and that he understands all
   of his options in connection with this Agreement.
           19.   Understanding of Agreement.       This Agreement is freely and voluntarily
   entered into by the Parties. The Parties acknowledge that they have read this Agreement in its
   entirety and that they understand the words, terms, conditions, and legal significance of this
   Agreement.
          20.     Notices. All notices relating to this Agreement shall go to the folJowing:
                  (a)     As to Kyle Pond, notice shall go to:
                          Travis R. Hollifield
                          Hollifield Legal Centre
                          147 E. Lyman Avenue- Suite C
                          Winter Park, Florida 32789

                  (b)     For Red Lambda, Inc.:
                          Ted Waz, tedwaz@gmail.com


                          Paul Gupta
                          Reed Smith LLP
                          101 Second Street, Suite 1800
                          San Francisco, CA 94105-3659
                          pgupta@reedsmith.com

                  (c)     For Bahram Yusefzadeh: by@v2r.com


                                [Rest of Page Intentionally Left Blank]


                                                     4
Case 6:19-cv-01975-RBD-EJK Document 17-1 Filed 11/20/19 Page 6 of 14 PageID 122




                  THE PARTIES AGREE THAT THIS AGREEMENT CONSTITUTES
                 THEIR ENTIRE AGREEMENT AND THAT THEY HAVE READ AND
                          UNDERSTAND ALL ITS PROVISIONS




                /!5,   U£~F;z,r/;JF/7
       Dated
                  ~~~e« ~VE=         {?rf,f/,eh/'1-¥   p" ~~E~/
                lf-12,... ?0/9                         C




       Dated:   l /-(2-20/ /




                                         5
Case 6:19-cv-01975-RBD-EJK Document 17-1 Filed 11/20/19 Page 7 of 14 PageID 123




                                  EXHIBITB




                                       6
Case 6:19-cv-01975-RBD-EJK Document 17-1 Filed 11/20/19 Page 8 of 14 PageID 124




                                    UNITED STATES DISTRICT COURT
                                     MIDDLE DISTRICT OF FLORIDA

                                      Case No. 6:19-cv-1975-0rl-37EJK

    KYLE POND,

           Plaintiff,

    V.

    RED LAMBDA, INC.,
    A Florida corporation, and
    BAHRAM YUSEF ZADEH,

           Defendants.
                                                 I

             JOINT MOTION TO APPROVE FLSA SETTLEMENT AGREEMENT

           Plaintiff, Kyle Pond ("Pond"), Defendant Red Lambda, Inc. ("RLT"), and pro se

    Defendant Bah ram Yusefzadeh ("Yusefzadeh") (collectively, the "Parties"), respectfully reques~

    that the Court review and approve the Parties' proposed settlement of Pond 's claim under the

    Fair Labor Standards Act, 29 U.S.C. §§ 201 et seq. (the "FLSA Claim"), and enter an order

    approving the agreement and dismissing the FLSA Claim (Count IT) with prejudice against RLI

    and Yusefzadeh. In support thereof, the Parties submit the following memorandum of law:

                                      PRELIMINARY STATEMENT

           Pond 1s a former RLI employee, and Yusefzadeh supervised Pond during hi s

    employment. In Count II of his Complaint, Pond alleges that RLI and Yusefzadeh failed to pay

    Pond the statutory minimum wage established by the FL,SA. RLI and Yusefzadeh deny this

    aUegation.   The parties have nev,ertheless reviewed. and .assessed . the , potential burdens a~d

    expense of litigation, anp agree tha\ the negotiated terms reflected in the FLSA Settlement
    .                         • .           1                                 •




    Agreement and Release attached as Exhibit A (the "Proposed Agreement") constitute a fair and

    reasonable resolution of the FLSA claim, and in fact meet or exceed the value of that claim.

                                                     7
Case 6:19-cv-01975-RBD-EJK Document 17-1 Filed 11/20/19 Page 9 of 14 PageID 125




    Accordingly, and pursuant to Lynn's Food Stores, Inc. v. US., 679 F.2d 1350 (11th Cir. 1982)

    and this Court's Scheduling Order [ECF No. 6], the parties respectfully submit their proposed

    FLSA Settlement Agreement and Release for the Court's review and approval.

                                      MEMORANDUM OF LAW

       A. Standard of Review.

           A plaintiff may settle and waive FLSA claims if the parties present the court with the

    proposed settlement agreement and receive the court's approval. Lynn's Food, 679 F.2d at 1353 .

    Pursuant to Lynn 's Food, the Court must review the Settlement Agreement and Release to

   determine whether the settlement constitutes "a fair and reasonable resolution of a bona fide

   dispute." Id. at 1354-55. If the settlement constitutes a reasonable compromise over issues that

   are actually in dispute, the Court should approve the settlement " in order to promote the policy

   of encouraging settlement of litigation." Id. at 1354.

          In determining whether a settlement agreement is fair and reasonable, courts consider the

   following factors:

           (1) the existence of fraud or collusion behind the settlement;

           (2) the complexity, expense, and likely duration of the litigation;

          (3) the stage of the proceedings and the amount of discovery completed;

          (4) the probability of Plaintiffs success on the merits;

          (5) the range of possible recovery; and

          (6) the opinions of ... counsel ....

   Leverso v. SouthTrust Bank of AL., NA., 18 F.3d 1527, 1531 n.6 (11th Cir. 1994). There is a

   "strong presumption in favor of finding a settlement fair." Helms v. Cent. Florida Reg 'I Hosp.,




                                                    8
Case 6:19-cv-01975-RBD-EJK Document 17-1 Filed 11/20/19 Page 10 of 14 PageID 126




    No. 605-cv-383-0rl-22JGG, 2006 WL 3858491 , at *4 (M.D. Fla. Dec. 26, 2006) (internal

    quotation marks omitted).

        B. The Settlement Agreement and Release Constitutes a Fair and Reasonable
           Settlement of a Bona Fide Dispute Over Pond's FLSA Claim.

           As shown below, the Proposed Agreement satisfies all the factors set forth in Leverso for

    qualifying as a fair and reasonable settlement of a bona fide dispute over an alleged FLSA claim.

           First, the settlement of Pond's FLSA claim has not involved any fraud, coercion,

    collusion, or undue influence.      The Parties reached their settlement through voluntary

    negotiations and after due consideration by each of them. Both Pond and RLI retained counsel

    experienced in litigating FLSA claims, including minimum wage claims, and have been

    represented by this counsel throughout the negotiation and execution of the Proposed

    Agreement. Specifically, Pond is represented by Travis R. Hollifield of Hollifield Legal Centre,

    and RU is represented by Jay Thornton of Reed Smith LLP.           While Defendant Yusefzadeh

    appears pro se, he will receive the benefit of a dismissal with prejudice and release of the sole

    claim against him (Count U) through the proposed agreement.

           In investigating Pond' s claim and negotiating this resolution, counsel for Pond and RLI

    have complied with their obligations to zealously represent their clients' best interests. Based

    upon the facts and circumstances of the case, the parties jointly advise the Court that the

    settlement amount agreed .upon constitutes a fair and reasonable settlement of a bona fide dispute

    over Pond's FLSA claim .1

           Second, the complexity, expense, and likely duration_of the litigation in this matter also

    support approval of the Proposed Agreement. The partie~ strongly disagree over the merits. of

    1 In addition to the FLSA Settlement Agreement and Release attached as Exhibit A, Pond and
    RLT have entered into an otherwise confidential settlement agreement as to Count I of Pond' s
    Complaint, which entails a dismissal with prejudice of that claim. Yusefzadeh is not a defendant
    to Count I.

                                                    9
Case 6:19-cv-01975-RBD-EJK Document 17-1 Filed 11/20/19 Page 11 of 14 PageID 127




     Pond' s FLSA claim. The Parties are also mindful, however, of the risks, costs, and delays that

     accompany extended litigation, motion practice, and trial. The Proposed Agreement, therefore,

     provides a valid way for the parties to resolve their dispute and minimize the risks, costs, delays,

     and inefficiencies of protracted litigation. These factors weight in favor of finding the parties'

     Settlement Agreement and Release a fair and reasonable resolution of their FLSA dispute.

            Third, at this stage in the proceeding, there has been sufficient investigation and

    exchange of information to allow the parties and their counsel to understand each party's

    position and make an informed decision as to how to best proceed.            In agreeing upon the

    proposed settlement, the parties have had access to sufficient information and advice of counsel

    to permit them to make a well-informed and well-reasoned decision as to how to handle their

    dispute. Accordingly, these factors weigh in favor of finding the parties ' Settlement Agreement

    and Release to be fair and reasonable.

            Fourth, the high degree of uncertainty surrounding Pond 's probability of success on the

    merits also makes the agreed-upon settlement fair and reasonable. RLI and Yusefzadeh deny

    wrongdoing and liability of any kind to Pond with respect to his FLSA claim. As an initial

    matter, RLI maintains that Pond is exempt from the provisions of the FLSA and that RLI acted in

    compliance with the FLSA wage-and-hour payment provisions. If this case were to proceed to

    trial, RLI would raise additional defenses that would decrease Pond' s likelihood of success on

    the merits. Accordingly, the Proposed Agreement constitutes a fair and reasonable settlement of

    Pond's alleged FLSA claim.

           Fifth, the range of potential recovery by Pond is also subject to dispute. Even if Pond

    were to succeed on the merits of his claim, which would require the parties to expend significant

    amounts of additional time and resources, the exact amount of his recovery is uncertain. Tf this



                                                     10
Case 6:19-cv-01975-RBD-EJK Document 17-1 Filed 11/20/19 Page 12 of 14 PageID 128




     case were to proceed to trial, Pond would have difficulty proving the number of hours worked

     and knowledge of those hours on the part of RLI. This uncertainty as to the amount Pond would

    recover-if any-weighs in favor of the Court finding the Proposed Agreement to be a fair and

    reasonable settlement.

           Sixth, as noted, both Pond and RLT have received the advice and counsel of attorneys

    who are experience in litigating FLSA claims such as the one raised in this case. Both Pond and

    RLI have been represented by this counsel throughout the negotiation and execution of the

    Proposed Agreement, and their attorneys have complied with their obligations to represent their

    respective clients' best interests.   Since both Pond and RLI have consulted with counsel in

    reaching their settlement, the Proposed Agreement constitutes a fair and reasonable settlement of

    the parties' dispute over Pond' s FLSA claim.

        C. The Parties Stipulate that the Attorney's Fees Provided in the Proposed Agreement
           Are Also Fair and Reasonable.

           ln addition to and apart from the consideration being provided to Pond by RLJ in

    settlement of Pond's alleged FLSA claim, the Proposed Agreement provides for payment of

    Pond 's attorney's fees. The inclusion of this attorney's fee provision has not affected the amount

    of consideration being provided to resolve Pond's alleged FLSA claim. In determining the

    reasonableness of attorneys' fees, the lodestar is generally computed by multiplying the number

    of hours reasonably expended by a reasonable hourly rate. City ofBurlington v. Dague, 505 U.S.

    557, 562 ( 1992). Tn the settlement ofan individual's FLSA claim, however, it is unnecessary for

    a court to analyze the reasonableness of attorney's fees when the parties stipulate as to their

    reasonableness.   "The FLSA does not require the court to assess the fairness of an agreed

    payment of attorneys' fees in settling an individual action." Helms v. Cent. Florida Reg 'I Hosp.,

    No. 605-cv-383-0rl-22JGG, 2006 WL 3858491, at *3 (M.D. Fla. Dec. 26, 2006). Since Pond

                                                    11
Case 6:19-cv-01975-RBD-EJK Document 17-1 Filed 11/20/19 Page 13 of 14 PageID 129




    and RLI stipulate that the proposed payment of fees to Pond's counsel is reasonable and was

    negotiated separately from and without impacting the cons.ideration provided to Pond in

    settlement of his alleged FLSA claim, it is appropriate for this Court to find the proposed

    attorney's fees to be reasonable.

                               CONCLUSION & RELIEF REQUESTED

               The Proposed Agreement attached as Exhibit A constitutes a fair and reasonable

    settlement of Pond's alleged FLSA claim against RLI and Yuseti:adeh (Count II). Separately

    from the settlement of Pond's alleged FLSA claim, the parties have agreed to a fair and

    reasonable payment of Pond's attorney's fees with respect to Count II, as also reflected in

    Exhibit A. Because the Proposed Agreement satisfies all requirements for approval, the Parties

    respectfully request entry of an Order approving their FLSA Settlement Agreement and Release

    in full.



                                [Rest of Page Intentionally Left Blank]




                                                  12
Case 6:19-cv-01975-RBD-EJK Document 17-1 Filed 11/20/19 Page 14 of 14 PageID 130




                WHEREFORE. Plaintiff; Kyle~ Defendant Red Lambda, Inc.. and prose Defendant

         Bahram Yusefzadeb respectfully request 1bat this Court eora- an Onk:r granting this molian,

         approving the Fl.SA Settlement Agreement and Release attached to this motion as Exhibit A,

         dismi~ing Pond's FLSA claim against Dcfendaols Red Lambda, Inc. and Babram Yusefzadeh

         widt preiudicc;, and any such other and tia1her relief as the Court deans appropriate.


         Dated: November 6, 2019                                  Respectfully submitted,


         Isl T,m,is R. Hollifield                           Isl J uv Thomlon
         Travis R- Hollifield                               JayThomton
         Florida Bar No. 0094420                            Florida Bar No. 323070
         Allomeyfor PlaintiffKyle Pond                      AJtomeyfor Red la,,,btJa. Inc.
         HOLLIFIELD L E G A L ~                             REED SMITBLLP
          147 E. Lyman A~uc, Suite C                        lOOl Brickell Bay Drive. Suite 900
         Winter Parle, FL 32719                             M"iami, FL 33131
         Telephone: ·(407) SS9-9590                         Telephone: (716) 747-0200
         Facsimile: (407) 5S9-9591                          Facsimile: (786) 747-0299
         jdcpanla@depanlalaw.com                            jthonnoo@reedsrnitb.com




                                           CER'IIFICATE Oil SERVICE

                 I HEREBY CERTIFY that on November__, 2019. I eledronically filed lhe folegoing

         document widl the Clerk of the Court using tbc CM/ECF tiling system, which will send

         notification of such filing to all counsel or parties of n:cord.


                                                         By: Isl J u11Thomlon
                                                                 Jay 1bomtm, Esq.



                                                            13
